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 6
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 7
 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10      ROBERT J. MATTHEWS, Individually Case No.
11      and on behalf of all others similarly
        situated,                             CLASS ACTION COMPLAINT FOR
12
                                              VIOLATION OF THE FEDERAL
13             Plaintiff,                     SECURITIES LAWS
14
              v.                                    JURY TRIAL DEMANDED
15
16      FAT BRANDS INC., ANDREW
        WIEDERHORN, RON ROE,
17      REBECCA HERSHINGER, and KEN
18      KUICK,
19
              Defendants.
20
21
22          Plaintiff Robert J. Matthews (“Plaintiff”), individually and on behalf of all
23    other persons similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s
24    complaint against Defendants (defined below), alleges the following based upon
25    personal knowledge as to Plaintiff and Plaintiff’s own acts, and information and
26    belief as to all other matters, based upon, inter alia, the investigation conducted by
27    and through Plaintiff’s attorneys, which included, among other things, a review of
28                                           –1–
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 1    the Defendants’ public documents, announcements, United States Securities and
 2    Exchange Commission (“SEC”) filings, wire and press releases published by and
 3    regarding FAT Brands Inc. (“FAT Brands” or the “Company”), and information
 4    readily obtainable on the Internet. Plaintiff believes that substantial evidentiary
 5    support will exist for the allegations set forth herein after a reasonable opportunity
 6    for discovery.
 7
                                NATURE OF THE ACTION
 8
            1.     This is a class action on behalf of persons or entities who purchased or
 9
      otherwise acquired publicly traded FAT Brands securities between December 4,
10
      2017 and February 18, 2022, inclusive (the “Class Period”). Plaintiff seeks to
11
      recover compensable damages caused by Defendants’ violations of the federal
12
      securities laws under the Securities Exchange Act of 1934 (the “Exchange Act”).
13
14                             JURISDICTION AND VENUE

15          2.     The claims asserted herein arise under and pursuant to §§10(b) and
16    20(a) of the Exchange Act (15 U.S.C. §§78j(b) and §78t(a)) and Rule 10b-5
17    promulgated thereunder by the SEC (17 C.F.R. §240.10b-5).
18          3.     This Court has jurisdiction over the subject matter of this action under
19    28 U.S.C. §1331 and §27 of the Exchange Act.
20          4.     Venue is proper in this judicial district pursuant to §27 of the Exchange
21    Act (15 U.S.C. §78aa) and 28 U.S.C. §1391(b) as the alleged misstatements entered
22    and the subsequent damages took place in this judicial district. Further, the
23    Company maintains its principal executive offices in Los Angeles County.
24
            5.     In connection with the acts, conduct and other wrongs alleged in this
25
      Complaint, Defendants (defined below), directly or indirectly, used the means and
26
      instrumentalities of interstate commerce, including but not limited to, the United
27
28                                –2–
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 1    States mail, interstate telephone communications and the facilities of the national
 2    securities exchange.
 3                                         PARTIES
 4          6.     Plaintiff, as set forth in the accompanying Certification, purchased the
 5    Company’s securities at artificially inflated prices during the Class Period and was
 6    damaged upon the revelation of the alleged corrective disclosure.
 7
            7.     Defendant FAT Brands purports to be a franchising company which
 8
      acquires, develops, and markets quick-service, fast casual, and casual dining
 9
      restaurant concepts including the brands of: Fatburger, Johnny Rockets, Twin Peaks,
10
      Fazoli’s, Buffalo’s Cafe, Buffalo’s Express, Ponderosa Steakhouse, Bonanza
11
      Steakhouse, Hurricane Grill & Wings, Yalla Mediterranean, and Elevation Burger.
12
            8.     Defendant FAT Brands is a Delaware corporation with its principal
13
14    executive offices at 9720 Wilshire Blvd., Suite 500, Beverly Hills, California 90212.

15    FAT Brands’ Class A common stock trades on the NASDAQ exchange under the
16    ticker symbol “FAT,” its Class B common stock trades under the ticker symbol
17    “FATBB,” its Series B Cumulative Preferred Stock trades under the ticker symbol
18    “FATBP,” and it warrants trade under the ticker symbol “FATBW.”
19          9.     Defendant Andrew Wiederhorn (“Wiederhorn”) has served as the Chief
20    Executive Officer, President, and a director of the Company throughout the Class
21    Period.
22          10.    Defendant Ron Roe (“Roe”) served as the Chief Financial Officer
23    (“CFO”) of the Company from 2009 through August 2018. Defendant Roe is
24
      currently the Senior Vice President of Finance of the Company.
25
            11.    Defendant Rebecca Hershinger (“Hershinger”) served as the CFO of
26
      the Company from August 2018 through May 2021.
27
28                                –3–
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 1          12.   Defendant Ken Kuick (“Kuick”) has served as the CFO of the Company
 2    since May 2021.
 3          13.   Defendants Wiederhorn, Roe, Hershinger, and Kuick are sometimes
 4    referred to herein as the “Individual Defendants.”
 5          14.   The Individual Defendants:
 6          (a)   directly participated in the management of the Company;
 7
            (b)   were directly involved in the day-to-day operations of the Company at
 8
                  the highest levels;
 9
            (c)   were privy to confidential proprietary information concerning the
10
                  Company and its business and operations;
11
            (d)   were directly or indirectly involved in drafting, producing, reviewing
12
                  and/or disseminating the false and misleading statements and
13
14                information alleged herein;

15          (e)   were directly or indirectly involved in the oversight or implementation
16                of the Company’s internal controls;
17          (f)   were aware of or recklessly disregarded the fact that the false and
18                misleading statements were being issued concerning the Company;
19                and/or
20          (g)   approved or ratified these statements in violation of the federal
21                securities laws.
22          15.   The Company is liable for the acts of the Individual Defendants and its
23    employees under the doctrine of respondeat superior and common law principles
24
      of agency because all of the wrongful acts complained of herein were carried out
25
      within the scope of their employment.
26
27
28                                –4–
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 1          16.    The scienter of the Individual Defendants and other employees and
 2    agents of the Company is similarly imputed to the Company under respondeat
 3    superior and agency principles.
 4          17.    The Company and the Individual Defendants are referred to herein,
 5    collectively, as the “Defendants.”
 6                            SUBSTANTIVE ALLEGATIONS
 7
                        Materially False and Misleading Statements
 8
            18.    On December 4, 2017, FAT Brands filed with the SEC its quarterly
 9
      report on Form 10-Q for the period ended September 24, 2017 (the “3Q17 Report”)
10
      which was signed by Defendants Wiederhorn and Roe. Attached to the 3Q17 Report
11
      were certifications pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”) signed by
12
      Defendants Andrew Wiederhorn and Roe attesting to the accuracy of financial
13
14    reporting, the disclosure of any material changes to the Company’s internal control

15    over financial reporting and the disclosure of all fraud.
16          19.    The 3Q17 Report neglected to state Defendant Wiederhorn and/or his
17    son and current FAT Brands Chief Operating Officer (“COO”), Thayer Wiederhorn,
18    had engaged in transactions “for no legitimate corporate purpose” connected to the
19    Company but stated the following, in pertinent part, regarding the debt, loans, and
20    financing concerning Defendant Wiederhorn:
21          … On June 21, 2017, the debt was purchased by a limited partnership
22          in which Andrew Wiederhorn, the CEO of the Company, is a general
            partner. Fog Cutter Capital Group Inc. has agreed to indemnify FAT
23          Brands Inc. and Subsidiaries from costs and liabilities which may arise
24          from this matter.
25
            20.    The 3Q17 Report stated the following, in pertinent part, regarding the
26
      Company’s executive management:
27
28                                –5–
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 1          We depend on key executive management.
 2
            We depend on the leadership and experience of our relatively small
 3          number of key executive management personnel, and in particular
 4          key executive management, particularly our Chief Executive Officer,
            Andrew Wiederhorn. The loss of the services of any of our executive
 5          management members could have a material adverse effect on our
 6          business and prospects, as we may not be able to find suitable
            individuals to replace such personnel on a timely basis or without
 7
            incurring increased costs, or at all. We do not maintain key man life
 8          insurance policies on any of our executive officers. We believe that our
 9          future success will depend on our continued ability to attract and retain
            highly skilled and qualified personnel. There is a high level of
10          competition for experienced, successful personnel in our industry. Our
11          inability to meet our executive staffing requirements in the future could
            impair our growth and harm our business.
12
13          (Emphasis added.)
14
            21.    On April 2, 2018, FAT Brands filed with the SEC its annual report on
15
      Form 10-K for the period ended December 31, 2017 (the “2017 Annual Report”)
16
      which was signed by Defendant Wiederhorn. Attached to the 2017 Annual Report
17
      were certifications pursuant to SOX signed by Defendants Wiederhorn and Roe
18
      attesting to the accuracy of financial reporting, the disclosure of any material
19
20    changes to the Company’s internal control over financial reporting and the

21    disclosure of all fraud.
22          22.    The 2017 Annual Report neglected to state Defendant Wiederhorn
23    and/or Thayer Wiederhorn had engaged in transactions “for no legitimate corporate
24    purpose” connected to the Company but provided other information regarding debt,
25    loans, and financing.
26          23.    The 2017 Annual Report stated the following, in pertinent part,
27    regarding the Company’s executive management:
28                                        –6–
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 1          We depend on key executive management.
 2          We depend on the leadership and experience of our relatively small
            number of key executive management personnel, and in particular
 3          key executive management, particularly our Chief Executive Officer,
 4          Andrew Wiederhorn. The loss of the services of any of our executive
            management members could have a material adverse effect on our
 5          business and prospects, as we may not be able to find suitable
 6          individuals to replace such personnel on a timely basis or without
            incurring increased costs, or at all. We do not maintain key man life
 7
            insurance policies on any of our executive officers. We believe that our
 8          future success will depend on our continued ability to attract and retain
 9          highly skilled and qualified personnel. There is a high level of
            competition for experienced, successful personnel in our industry. Our
10          inability to meet our executive staffing requirements in the future could
11          impair our growth and harm our business.
12
            (Emphasis added.)
13
14          24.    On March 29, 2019, FAT Brands filed with the SEC its annual report

15    on Form 10-K for the period ended December 30, 2018 (the “2018 Annual Report”)
16    which was signed by Defendant Wiederhorn. Attached to the 2018 Annual Report
17    were certifications pursuant to SOX signed by Defendants Wiederhorn and
18    Hershinger attesting to the accuracy of financial reporting, the disclosure of any
19    material changes to the Company’s internal control over financial reporting and the
20    disclosure of all fraud.
21          25.    The 2018 Annual Report neglected to state Defendant Wiederhorn
22    and/or Thayer Wiederhorn had engaged in transactions “for no legitimate corporate
23    purpose” connected to the Company but provided other information regarding debt,
24
      loans, and financing.
25
            26.    The 2018 Annual Report stated the following, in pertinent part, touting
26
      the Company’s executive management:
27
28                                 –7–
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 1         Competitive Strengths
 2
           We believe that our competitive strengths include:
 3         … Seasoned and Passionate Management Team. Our management
 4         team and employees are critical to our success. Our senior leadership
           team has more than 200 years of combined experience in the
 5         restaurant industry, and many have been a part of our team since the
 6         acquisition of the Fatburger brand in 2003. We believe that our
           management team has the track record and vision to leverage the FAT
 7
           Brands platform to achieve significant future growth. In addition,
 8         through their holdings in FCCG, our senior executives own a
 9         significant equity interest in the company, ensuring long-term
           commitment and alignment with our public shareholders. Our
10         management team is complemented by an accomplished Board of
11         Directors.
12
                                        *     *      *
13
14         We depend on key executive management.

15         We depend on the leadership and experience of our relatively small
16         number of key executive management personnel, and in particular
           key executive management, particularly our Chief Executive Officer,
17         Andrew Wiederhorn. The loss of the services of any of our executive
18         management members could have a material adverse effect on our
           business and prospects, as we may not be able to find suitable
19
           individuals to replace such personnel on a timely basis or without
20         incurring increased costs, or at all. We do not maintain key man life
21         insurance policies on any of our executive officers. We believe that our
           future success will depend on our continued ability to attract and retain
22         highly skilled and qualified personnel. There is a high level of
23         competition for experienced, successful personnel in our industry. Our
           inability to meet our executive staffing requirements in the future could
24
           impair our growth and harm our business.
25
26         (Emphasis added.)
27
28                                –8–
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 1          27.    On April 28, 2020, FAT Brands filed with the SEC its annual report on
 2    Form 10-K for the period ended December 29, 2019 (the “2019 Annual Report”)
 3    which was signed by Defendant Wiederhorn. Attached to the 2019 Annual Report
 4    were certifications pursuant to SOX signed by Defendants Wiederhorn and
 5    Hershinger attesting to the accuracy of financial reporting, the disclosure of any
 6    material changes to the Company’s internal control over financial reporting and the
 7
      disclosure of all fraud.
 8
            28.    The 2019 Annual Report neglected to state Defendant Wiederhorn
 9
      and/or Thayer Wiederhorn had engaged in transactions “for no legitimate corporate
10
      purpose” connected to the Company but provided other information regarding debt,
11
      loans, and financing.
12
            29.    The 2019 Annual Report stated the following, in pertinent part, touting
13
14    the Company’s executive management:

15          Competitive Strengths
16          We believe that our competitive strengths include:
17
            … Seasoned and Passionate Management Team. Our management
18
            team and employees are critical to our success. Our senior leadership
19          team has more than 200 years of combined experience in the
20          restaurant industry, and many have been a part of our team since the
            acquisition of the Fatburger brand in 2003. We believe that our
21          management team has the track record and vision to leverage the FAT
22          Brands platform to achieve significant future growth. In addition,
            through their holdings in FCCG, our senior executives own a
23          significant equity interest in the company, ensuring long-term
24          commitment and alignment with our public shareholders. Our
25          management team is complemented by an accomplished Board of
            Directors.
26
27          (Emphasis added.)
28                                 –9–
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 1
 2           30.    On May 15, 2020, FAT Brands filed with the SEC an amendment to its

 3     2019 Annual Report Form 10-K/A for the period ended December 29, 2019 (the
 4     “2019 Amendment”) which was signed by Defendant Wiederhorn. Attached to the
 5     2019 Amendment were certifications pursuant to SOX signed by Defendants
 6     Wiederhorn and Hershinger attesting to its accuracy and the disclosure of all fraud.
 7           31.    On March 29, 2021, FAT Brands filed with the SEC its annual report
 8     on Form 10-K for the period ended December 27, 2020 (the “2020 Annual Report”)
 9     which was signed by Defendant Wiederhorn. Attached to the 2020 Annual Report
10     were certifications pursuant to SOX signed by Defendants Wiederhorn and
11     Hershinger attesting to the accuracy of financial reporting, the disclosure of any
12
       material changes to the Company’s internal control over financial reporting and the
13
       disclosure of all fraud.
14
             32.    The 2020 Annual Report neglected to state Defendant Wiederhorn
15
       and/or Thayer Wiederhorn had engaged in transactions “for no legitimate corporate
16
       purpose” connected to the Company but provided other information regarding debt,
17
       loans, and financing.
18
             33.    The 2020 Annual Report stated the following, in pertinent part, touting
19
20     the Company’s executive management:

21           Competitive Strengths
22           We believe that our competitive strengths include:
23           … Seasoned and Passionate Management Team. Our management
             team and employees are critical to our success. Our senior leadership
24
             team is highly experienced in the restaurant industry, and many have
25           been a part of our team since our acquisition of the Fatburger brand
26           in 2003. In addition, through their holdings, our senior executives own
             a significant equity interest in the Company, ensuring long-term
27           commitment and alignment with our public shareholders. Our
28                                            – 10 –
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 1           management team is complemented by an accomplished Board of
 2           Directors that is highly involved in overseeing our strategic initiatives
             and implementation.
 3
 4                                        *     *      *
 5           We depend on key executive management.
 6
             We depend on the leadership and experience of our relatively small
 7
             number of key executive management personnel, in particular our
 8           Chief Executive Officer, Andrew Wiederhorn. The loss of the services
 9           of any of our executive management members could have a material
             adverse effect on our business and prospects, as we may not be able
10           to find suitable individuals to replace such personnel on a timely basis
11           or without incurring increased costs, or at all. We do not maintain key
             man life insurance policies on any of our executive officers. We believe
12
             that our future success will depend on our continued ability to attract
13           and retain highly skilled and qualified personnel. There is a high level
14           of competition for experienced, successful personnel in our industry.
             Our inability to meet our executive staffing requirements in the future
15           could impair our growth and harm our business.
16
             (Emphasis added.)
17
18           34.   On January 10, 2022, the Company filed with the SEC a current report
19     on Form 8-K which was signed by Defendant Kuick which attached an investor
20     presentation (the “Investor Presentation”). The Investor Presentation touted the
21     Company’s management, including Defendants Andrew Wiederhorn and Thayer
22     Wiederhorn, in the following slides:
23
24
25
26
27
28                                – 11 –
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28                                – 12 –
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 1              35.   The statements referenced in ¶¶ 18-34 above, made by or attributed to
 2     Defendants, were materially false and/or misleading because they misrepresented
 3     and failed to disclose the following adverse facts pertaining to the Company’s
 4     business, operational and financial results, which were known to Defendants or
 5     recklessly disregarded by them. Specifically, Defendants made false and/or
 6     misleading statements and/or failed to disclose that: (1) the Company and the
 7
       Wiederhorns engaged in transactions “for no legitimate corporate purpose”; (2) the
 8
       Company ignored warning signs relating to transactions with the Wiederhorns; (3)
 9
       as a result, the Company was likely to face increased scrutiny, investigations, and
10
       other potential issues; (4) certain executives, who are touted as critical to the
11
       Company’s success, were at great risk of scrutiny—potentially, at least in part, due
12
       to the Company’s actions; (5) the Company’s touted CEO and COO were under
13
14     investigation regarding transactions with the Company; and (6) as a result,

15     Defendants’ public statements were materially false and/or misleading at all relevant
16     times.
17                                     The Truth Emerges
18              36.   On Saturday February 19, 2022, the Los Angeles Times published an
19     article entitled “Family behind Fatburger under investigation for alleged fraud,
20     money laundering, records show” which revealed the investigations into Defendant
21     Wiederhorn and his son and Company COO Thayer Wiederhorn in connection with
22     the Company.
23              37.   The Los Angeles Times article stated the following, in pertinent part,
24
       regarding the investigation:
25
                Federal authorities have been investigating Andrew Wiederhorn,
26              chief executive of the company that owns the Fatburger and Johnny
27              Rockets restaurant chains, and examining one of his family
28                                – 13 –
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 1          member’s actions as part of an inquiry into allegations of securities
 2          and wire fraud, money laundering and attempted tax evasion, court
            records show.
 3
 4          During the probe, federal agents in December raided the Beverly
            Grove home of Wiederhorn’s son Thayer and daughter-in-law
 5          Brooke Wiederhorn, according to search warrant records filed in
 6          court.
 7
                                        *     *     *
 8
 9          Agents hauled away phones, digital storage devices, tax documents and
            other records from the couple’s residence, according to court filings.
10          Federal investigators also sought a judge’s permission to search the
11          elder Wiederhorn’s Beverly Hills mansion, although court filings do
            not indicate whether that raid took place. They also monitored him
12
            walking his dogs by the property last year.
13
14          In a November affidavit outlining the investigation, a special agent
            for the FBI focusing on complex financial crimes alleged that
15          Wiederhorn, 56, had “devised and executed a fraudulent scheme” to
16          avoid paying taxes and received “millions of dollars in sham loans”
            through his companies.
17
18          The affidavit identifies years of credit card purchases by Wiederhorn,
            his children, and other relatives — $183,500 at a London jeweler;
19
            $150,000 apparently for a down payment on a Rolls-Royce; more than
20          $100,000 to a Beverly Hills divorce attorney — and alleges they were
21          “paid primarily” out of accounts held by an affiliate of the publicly
            traded FAT Brands.
22
23          The filing also alleges that Wiederhorn generated millions of American
            Express rewards points by routing company money through his son’s
24
            PayPal account.
25
26          The agent concluded there was probable cause that Wiederhorn
            “engaged in the following criminal conduct,” including tax offenses,
27
28                                – 14 –
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 1          misrepresentations to investors, and fraud offenses “relating to
 2          personal expenses that Wiederhorn caused FAT ... to pay.”

 3          The status of the investigation is unclear. No charges have been filed
 4          against any person or against FAT Brands, of which Wiederhorn is the
            largest shareholder.
 5
 6                                       *     *      *
 7
            Beverly Hills-based FAT Brands said late Friday: “The government
 8          has informed FAT Brands of its investigation and the Company is
 9          fully cooperating.”
10          The inquiry comes nearly two decades after Wiederhorn was first
11          ensnared in financial crimes. In 2004, he pleaded guilty in U.S. District
            Court in Oregon to charges of paying an illegal gratuity to an associate
12
            and to filing a false tax return. He spent 15 months in federal prison in
13          Sheridan, Ore., and paid a $2-million fine.
14
            The day before he pleaded guilty, the company he led, Fog Cutter
15          Capital, awarded him a $2-million bonus and agreed to keep paying
16          him during his incarceration.
17          The arrangement prompted New York Times columnist Nicholas
18          Kristof to bestow on Wiederhorn his inaugural “award for greed,”
            writing: “I can’t think of a board that has ever so disgraced the
19
            principles of corporate governance by overpaying a CEO even as he
20          sits in prison.”
21
                                         *     *      *
22
23          It is unclear what prompted the recent investigation by the FBI, whose
            agents appear to have pored over Wiederhorn’s banking, loan and tax
24
            records.
25
26          Part of the inquiry outlined in the affidavit examined whether
            Wiederhorn filed a false tax return, citing discrepancies between loan
27
28                                – 15 –
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 1          applications. His 2018 tax return listed income of $403,311 and, in
 2          2017, income of $395,508, according to the court filing.

 3          But in applications for a car loan and home purchase in 2018, he
 4          reported earning $200,000 per month, or about $2.4 million per year.
 5          The affidavit makes ample references to Wiederhorn’s “luxurious
 6          lifestyle” — a $24,739 bill at Hotel Byblos in Saint-Tropez and $29,913
            at Hotel Arts Barcelona — while the Internal Revenue Service has
 7
            clamored for unpaid income taxes over the last decade.
 8
 9          Wiederhorn has entered into several “installment agreements” to pay
            back taxes. The filing notes he was complying with his current
10          installment plan, but as of November 2021, he owed nearly $3 million
11          in personal income taxes, penalties and interest.
12
            The FBI agent also outlined how he believes Wiederhorn “converted”
13          money from FAT Brands and its affiliates via credit cards that show
14          purchases at Dolce & Gabbana, Giorgio Armani and Restoration
            Hardware.
15
16          One of Wiederhorn’s cards had subaccounts for credit cards issued to
            his six children, his mother, personal household employees, his ex-wife
17          and others. Their charges include “significant expenses, which appear
18          to be personal in nature,” such as doctor bills, clothing, shoes,
            mattresses, groceries, tutoring services and pet care.
19
20          From October 2017 — the date of FAT Brands’ initial public offering
21          — to May 2019, about $5 million from the company or its subsidiaries
            went to cover various Wiederhorn credit card balances, according to
22          the court filing.
23
            Thayer Wiederhorn, an executive at FAT Brands, is referenced
24
            specifically in connection with an alleged scheme to route millions of
25          dollars of company money through American Express charges to a
26          PayPal account bearing his name. The FBI agent suggests the apparent
            goal was to generate credit card rewards points for his father.
27
28                                – 16 –
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 1              The court records describe the scheme as “round-trip transactions,”
 2              with money traveling from the younger Wiederhorn’s PayPal
                account, to his personal Bank of America accounts, and back to FAT
 3              or its subsidiaries.
 4
                The FBI agent tabulated a cost more than $250,000 in fees to PayPal
 5              out of about $9 million that traveled “round trip.”
 6
                Those $250,000 in fees were spent “for no legitimate corporate
 7
                purpose,” the FBI agent wrote, but “to further Wiederhorn’s
 8              fraudulent scheme.”
 9
                (Emphasis added.)
10
11              38.   On February 22, 20221, before trading hours, the Company filed with
12
       the SEC a Form 8-K, in which the Company announced the following, in relevant
13
       part, regarding the investigation:
14
                … the U.S. Attorney’s Office for the Central District of California
15              (the “U.S. Attorney”) and the U.S. Securities and Exchange
16              Commission informed the Company in December 2021 that they have
                opened investigations relating to the Company and our Chief
17              Executive Officer, Andrew Wiederhorn, and are formally seeking
18              documents and materials concerning, among other things, the
                Company’s December 2020 merger with Fog Cutter Capital Group
19
                Inc., transactions between these entities and Mr. Wiederhorn, and
20              compensation, extensions of credit and other benefits or payments
21              received by Mr. Wiederhorn or his family. The Company is
                cooperating with the government regarding these matters, and we
22              believe that the Company is not currently a target of the U.S. Attorney’s
23              investigation. At this early stage, the Company is not able to reasonably
                estimate the outcome or duration of the government investigations.
24
25
26
27     1
           On February 21, 2022, the market was closed in observance of President’s Day.
28                                            – 17 –
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 1            (Emphasis added.)
 2
              39.   On this news, FAT Brands’ class A common stock price fell $2.42
 3
       per share, or 23%, to close at $8.14 per share on February 22, 2022, on unusually
 4
       heavy trading volume, damaging investors.
 5
              40.   On this news, FAT Brands’ class B common stock price fell $1.83 per
 6
       share, or 17%, to close at $8.89 per share on February 22, 2022, on unusually
 7
 8     heavy trading volume, damaging investors.

 9            41.   On this news, FAT Brands’ preferred stock price fell $5.36 per share,
10     or 30%, to close at $12.37 per share on February 22, 2022, on unusually heavy
11     trading volume, damaging investors.
12            42.   On this news FAT Brands’ warrants’ price fell $2.41, or 35%, to
13     close at $4.47 per warrant on February 22, 2022, on unusually heavy trading
14     volume, damaging investors.
15            43.   As a result of Defendants’ wrongful acts and omissions, and the
16     decline in the market value of the Company’s securities, Plaintiff and other Class
17     members have suffered significant losses and damages.
18
                     PLAINTIFF’S CLASS ACTION ALLEGATIONS
19
              44.   Plaintiff brings this action as a class action pursuant to Federal Rule
20
       of Civil Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those
21
       who purchased or otherwise acquired the publicly traded securities of FAT
22
       Brands during the Class Period (the “Class”) and were damaged upon the
23
       revelation of the alleged corrective disclosure. Excluded from the Class are
24
25     Defendants herein, the officers and directors of the Company, at all relevant

26     times, members of their immediate families and their legal representatives, heirs,
27     successors or assigns and any entity in which Defendants have or had a controlling
28     interest.
                                   – 18 –
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 1            45.      The members of the Class are so numerous that joinder of all members
 2     is impracticable. Throughout the Class Period, the Company’s securities were
 3     actively traded on the NASDAQ. While the exact number of Class members is
 4     unknown to Plaintiff at this time and can be ascertained only through appropriate
 5     discovery, Plaintiff believes that there are hundreds or thousands of members in the
 6     proposed Class. Record owners and other members of the Class may be identified
 7
       from records maintained by the Company or its transfer agent and may be notified
 8
       of the pendency of this action by mail, using the form of notice similar to that
 9
       customarily used in securities class actions.
10
              46.      Plaintiff’s claims are typical of the claims of the members of the Class
11
       as all members of the Class are similarly affected by Defendants’ wrongful conduct
12
       in violation of federal law that is complained of herein.
13
14            47.      Plaintiff will fairly and adequately protect the interests of the members

15     of the Class and has retained counsel competent and experienced in class and
16     securities litigation. Plaintiff has no interests antagonistic to or in conflict with those
17     of the Class.
18            48.      Common questions of law and fact exist as to all members of the Class
19     and predominate over any questions solely affecting individual members of the
20     Class. Among the questions of law and fact common to the Class are:
21            (a)      whether Defendants’ acts as alleged violated the federal securities
22                     laws;
23            (b)      whether Defendants’ statements to the investing public during the
24
                       Class Period misrepresented material facts about the financial
25
                       condition, business, operations, and management of the Company;
26
27
28                                 – 19 –
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 1           (c)    whether Defendants’ statements to the investing public during the
 2                  Class Period omitted material facts necessary to make the statements
 3                  made, in light of the circumstances under which they were made, not
 4                  misleading;
 5           (d)    whether the Individual Defendants caused the Company to issue false
 6                  and misleading SEC filings and public statements during the Class
 7
                    Period;
 8
             (e)    whether Defendants acted knowingly or recklessly in issuing false and
 9
                    misleading SEC filings and public statements during the Class Period;
10
             (f)    whether the prices of the Company’s securities during the Class Period
11
                    were artificially inflated because of the Defendants’ conduct
12
                    complained of herein; and
13
14           (g)    whether the members of the Class have sustained damages and, if so,

15                  what is the proper measure of damages.
16           49.    A class action is superior to all other available methods for the fair and
17     efficient adjudication of this controversy since joinder of all members is
18     impracticable. Furthermore, as the damages suffered by individual Class members
19     may be relatively small, the expense and burden of individual litigation make it
20     impossible for members of the Class to individually redress the wrongs done to
21     them. There will be no difficulty in the management of this action as a class action.
22           50.    Plaintiff will rely, in part, upon the presumption of reliance established
23     by the fraud-on-the-market doctrine in that:
24
             (a)    Defendants made public misrepresentations or failed to disclose
25
                    material facts during the Class Period;
26
             (b)    the omissions and misrepresentations were material;
27
28                                – 20 –
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 1           (c)    the Company’s securities are traded in efficient markets;
 2           (d)    the Company’s securities were liquid and traded with moderate to
 3                  heavy volume during the Class Period;
 4           (e)    the Company traded on NASDAQ, and was covered by multiple
 5                  analysts;
 6           (f)    the misrepresentations and omissions alleged would tend to induce a
 7
                    reasonable investor to misjudge the value of the Company’s securities;
 8
                    Plaintiff and members of the Class purchased and/or sold the
 9
                    Company’s securities between the time the Defendants failed to
10
                    disclose or misrepresented material facts and the time the true facts
11
                    were disclosed, without knowledge of the omitted or misrepresented
12
                    facts; and
13
14           (g)    Unexpected material news about the Company was rapidly reflected

15                  in and incorporated into the Company’s stock price during the Class
16                  Period.
17           51.    Based upon the foregoing, Plaintiff and the members of the Class are
18     entitled to a presumption of reliance upon the integrity of the market.
19           52.    Alternatively, Plaintiff and the members of the Class are entitled to the
20     presumption of reliance established by the Supreme Court in Affiliated Ute Citizens
21     of the State of Utah v. United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as
22     Defendants omitted material information in their Class Period statements in
23     violation of a duty to disclose such information, as detailed above.
24
                                            COUNT I
25
               Violation of Section 10(b) of The Exchange Act and Rule 10b-5
26
                                    Against All Defendants
27
28                                – 21 –
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 1           53.    Plaintiff repeats and realleges each and every allegation contained
 2     above as if fully set forth herein.
 3           54.    This Count is asserted against the Company and the Individual
 4     Defendants and is based upon Section 10(b) of the Exchange Act, 15 U.S.C. §
 5     78j(b), and Rule 10b-5 promulgated thereunder by the SEC.
 6           55.     During the Class Period, the Company and the Individual Defendants,
 7
       individually and in concert, directly or indirectly, disseminated or approved the
 8
       false statements specified above, which they knew or deliberately disregarded were
 9
       misleading in that they contained misrepresentations and failed to disclose material
10
       facts necessary in order to make the statements made, in light of the circumstances
11
       under which they were made, not misleading.
12
             56.    The Company and the Individual Defendants violated §10(b) of the
13
14     1934 Act and Rule 10b-5 in that they: employed devices, schemes and artifices to

15     defraud; made untrue statements of material facts or omitted to state material facts
16     necessary in order to make the statements made, in light of the circumstances under
17     which they were made, not misleading; and/or engaged in acts, practices and a
18     course of business that operated as a fraud or deceit upon plaintiff and others
19     similarly situated in connection with their purchases of the Company’s securities
20     during the Class Period.
21           57.    The Company and the Individual Defendants acted with scienter in that
22     they knew that the public documents and statements issued or disseminated in the
23     name of the Company were materially false and misleading; knew that such
24
       statements or documents would be issued or disseminated to the investing public;
25
       and knowingly and substantially participated, or acquiesced in the issuance or
26
       dissemination of such statements or documents as primary violations of the
27
28                                 – 22 –
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 1     securities laws. These defendants by virtue of their receipt of information reflecting
 2     the true facts of the Company, their control over, and/or receipt and/or modification
 3     of the Company’s allegedly materially misleading statements, and/or their
 4     associations with the Company which made them privy to confidential proprietary
 5     information concerning the Company, participated in the fraudulent scheme alleged
 6     herein.
 7
             58.     Individual Defendants, who are the senior officers and/or directors of
 8
       the Company, had actual knowledge of the material omissions and/or the falsity of
 9
       the material statements set forth above, and intended to deceive Plaintiff and the
10
       other members of the Class, or, in the alternative, acted with reckless disregard for
11
       the truth when they failed to ascertain and disclose the true facts in the statements
12
       made by them or other personnel of the Company to members of the investing
13
14     public, including Plaintiff and the Class.

15           59.     As a result of the foregoing, the market price of the Company’s
16     securities was artificially inflated during the Class Period. In ignorance of the falsity
17     of the Company’s and the Individual Defendants’ statements, Plaintiff and the other
18     members of the Class relied on the statements described above and/or the integrity
19     of the market price of the Company’s securities during the Class Period in
20     purchasing the Company’s securities at prices that were artificially inflated as a
21     result of the Company’s and the Individual Defendants’ false and misleading
22     statements.
23           60.     Had Plaintiff and the other members of the Class been aware that the
24
       market price of the Company’s securities had been artificially and falsely inflated
25
       by the Company’s and the Individual Defendants’ misleading statements and by the
26
       material adverse information which the Company’s and the Individual Defendants
27
28                                 – 23 –
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 1     did not disclose, they would not have purchased the Company’s securities at the
 2     artificially inflated prices that they did, or at all.
 3            61.     As a result of the wrongful conduct alleged herein, Plaintiff and other
 4     members of the Class have suffered damages in an amount to be established at trial.
 5            62.    By reason of the foregoing, the Company and the Individual
 6     Defendants have violated Section 10(b) of the 1934 Act and Rule 10b-5
 7
       promulgated thereunder and are liable to the Plaintiff and the other members of the
 8
       Class for substantial damages which they suffered in connection with their
 9
       purchases of the Company’s securities during the Class Period.
10
                                               COUNT II
11
                         Violation of Section 20(a) of The Exchange Act
12
                                Against The Individual Defendants
13
14            63.    Plaintiff repeats and realleges each and every allegation contained in

15     the foregoing paragraphs as if fully set forth herein.
16            64.    During the Class Period, the Individual Defendants participated in the
17     operation and management of the Company, and conducted and participated,
18     directly and indirectly, in the conduct of the Company’s business affairs. Because
19     of their senior positions, they knew the adverse non-public information regarding
20     the Company’s business practices.
21            65.    As officers of the Company, the Individual Defendants had a duty to
22     disseminate accurate and truthful information with respect to the Company and to
23     correct promptly any public statements issued by the Company which had become
24
       materially false or misleading.
25
              66.    Because of their positions of control and authority as senior officers,
26
       Individual Defendants were able to, and did, control the contents of the various
27
28                                 – 24 –
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 1     reports, press releases and public filings which the Company disseminated in the
 2     marketplace during the Class Period. Throughout the Class Period, Individual
 3     Defendants exercised their power and authority to cause the Company to engage in
 4     the wrongful acts complained of herein. The Individual Defendants therefore, were
 5     “controlling persons” of the Company within the meaning of Section 20(a) of the
 6     Exchange Act. In this capacity, they participated in the unlawful conduct alleged
 7
       which artificially inflated the market price of the Company’s securities.
 8
             67.    The Individual Defendants, therefore, acted as controlling persons of
 9
       the Company. By reason of their senior management positions, the Individual
10
       Defendants had the power to direct the actions of, and exercised the same to cause,
11
       the Company to engage in the unlawful acts and conduct complained of herein. The
12
       Individual Defendants exercised control over the general operations of the
13
14     Company and possessed the power to control the specific activities which comprise

15     the primary violations about which Plaintiff and the other members of the Class
16     complain.
17           68.    By reason of the above conduct, the Individual Defendants are liable
18     pursuant to Section 20(a) of the Exchange Act for the violations committed by the
19     Company.
20                                 PRAYER FOR RELIEF
21           WHEREFORE, Plaintiff demands judgment against Defendants as follows:
22           A.     Determining that the instant action may be maintained as a class action
23     under Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as
24
       the Class representative;
25
             B.     Requiring Defendants to pay damages sustained by Plaintiff and the
26
       Class by reason of the acts and transactions alleged herein;
27
28                                – 25 –
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 1           C.     Awarding Plaintiff and the other members of the Class prejudgment
 2     and post-judgment interest, as well as their reasonable attorneys’ fees, expert fees,
 3     and other costs; and
 4           D.     Awarding such other and further relief as this Court may deem just and
 5     proper.
 6                            DEMAND FOR TRIAL BY JURY
 7
             Plaintiff hereby demands a trial by jury.
 8
 9
       Dated: March 18, 2022                  Respectfully submitted,
10
11                                            /s/Laurence M. Rosen
                                              THE ROSEN LAW FIRM, P.A.
12
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17                                            Counsel for Plaintiff
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